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                         UNITED STATES DISTRICT COURT
                           DISTRICT OF MASSACHUSETTS

UNITED STATES OF AMERICA                    )
                                            )
              v.                            )         Cr. No. 16-10236-MLW
                                            )
ROBERT M. PENA,                             )
     Defendant.                             )

                                          ORDER

WOLF, D.J.                                                                 May 15, 2020


     For the reasons discussed at the May 15, 2020 hearing, it

is hereby ORDERED that:

     1.    Defendant       Robert   Pena's       Motion    for     Indicative    Ruling

(Dkt.   No.    173)   is    ALLOWED.      The    court     finds    that   defendant's

Emergency      Motion      for   Compassionate       Release       under    18   U.S.C.

§3582(c)(1)(A)(i)          (Dkt.    No.     171,     the     "Motion")       raises   a

substantial issue and that, if the Court of Appeals for the

First Circuit remands for the purpose of ruling on the Motion,

and Pena again tests negative for COVID-19 infection, the court

will allow the Motion and re-sentence defendant as follows:

              a.   The     court    will    modify       defendant's       sentence   of

imprisonment to time-served;

              b.   The      court   will        increase     defendant's      term    of

Supervised Release to three years, on the mandatory, standard,

and special conditions imposed at sentencing on April 23, 2019,

and, until January 26, 2022, on the following special condition:
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            Defendant          shall   be    restricted      to   his   residence   in

Falmouth,        Massachusetts,          subject        to   electronic     location

monitoring, except for medical appointments approved in advance

by Probation; any medical emergency, provided he report it to

Probation   within        24    hours;      religious    observances     approved   in

advance by Probation; and court appearances or other activities

approved by the court; and

            c.      The    remainder         of    defendant's      sentence   shall

otherwise be unchanged and remain in effect.

     2.     Defendant shall promptly notify the clerk of the Court

of Appeals of this Ruling and Order. See Fed. R. Crim. P. 37(b);

Fed. R. App. P. 12.1.

     3.     The parties shall order the transcript of the May 15,

2020 hearing on an expedited basis.




                                              2
